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                          BEFORE THE UNITED STATES
                       JUDICIAL PANEL ON MULTIDISTRICT
                                  LITIGATION

  IN RE: FTX COLLAPSE LITIGATION                                  MDL Docket 3076


                                      PROOF OF SERVICE

         In accordance with Rule 4.1(a) of the Rules of Procedure for the United States Judicial

 Panel on Multidistrict Litigation, the undersigned hereby certifies that on March 8, 2023, a

 copy of the foregoing (1) Notice of Appearance; (2) Schedule of Action; and this Proof of

 Service were electronically filed with the Clerk of the JPML by using the CM/ECF and was

 served on all counsel or parties via email or mail as follows:

                  US District Court for the Southern District of Florida
                   Norris et al v. Brady et al, Case No.: 1:23-CV-20439
Counsel for Plaintiffs:                          Counsel for Defendant Thomas Brady
                         Via Electronic Mail                             Via Electronic Mail
Adam M. Moskowitz                                Stephanie Anne Casey
The Moskowitz Law Firm,                          Colson Hicks Eidson
PLLC 2 Alhambra Plaza, Suite                     255 Alhambra Circle,
601 Coral Gables, FL 33134-                      PH Coral Gables, FL
6036 305-740-1423                                33134 305-476-7400
adam@moskowitz-law.com                           305-476-7444
                         Via Electronic Mail scasey@colson.com
Jose Manuel Ferrer                                                       Via Electronic Mail
Mark Migdal and Hayden                           Zachary Andrew Lipshultz
80 SW 8 Street, Suite 1999                       Colson Hicks Eidson
Miami, FL 33131                                  255 Alhambra Circle
305-374-0440                                     Coral Gables, FL
jose@markmigdal.com                              33134 305-476-7400
                         Via Electronic Mail zach@colson.com
Joseph M. Kaye                                                           Via Electronic Mail
The Moskowitz Law Firm,                          Andrew B. Clubok
PLLC 2 Alhambra Plaza, Suite                     Latham & Watkins LLP
601                                              555 Eleventh Street, NW, Suite 1000
Miami, FL 33134                                  Washington, DC 20004
305-740-1423                                     202-637-2200
joseph@moskowitz-law.com                        andrew.clubok@lw.com

                         Via Electronic Mail                                Via Electronic Mail
Stephen N. Zack                                      Brittany M.J. Record


                                               -1-
        Case MDL No. 3076 Document 33-2 Filed 03/08/23 Page 2 of 33




Boies Schiller & Flexner 100 SE 2nd Street           Latham & Watkins LLP
Suite 2800, Miami                                    555 Eleventh Street, N.W., Suite 1000
Tower Miami, FL                                      Washington, DC 20004
33131-2144                                           202-637-2200
305-539-8400                                         Brittany.Record@lw.com
305-539-1307                                                                 Via Electronic Mail
szack@bsfllp.com                                     Elizabeth A. Greenman
                         Via Electronic Mail         Latham & Watkins LLP
Ursula Ungaro                                        10250 Constellation Blvd., Suite 1100
Boies Schiller Flexner                               Los Angels, CA 90067
LLP 100 SE 2nd Street                                424-653-5500
Suite 2800                                           Elizabeth.Greenman@lw.com
Miami, FL 33131                                                              Via Electronic Mail
305-479-6553                                         Jessica Stebbins Bina
uungaro@bsfllp.com (Inactive)                        Latham & Watkins LLP
                         Via Electronic Mail         10250 Constellation Blvd. Suite 1100
Alexander Boies                                      Los Angeles, CA 90067
Boies Schiller Flexner                               424-653-5500
LLP 333 Main Street                                  Jessica.stebbinsbina@lw.com
Armonk, NY 10504                                                             Via Electronic Mail
914-749-8200                                         Marvin Putnam
aboies@bsfllp.com                                    Latham & Watkins LLP
                         Via Electronic Mail         10250 Constellation Blvd., Suite 1100
David Boies                                          Los Angeles, CA 90067
Boies Schiller Flexner                               424-653-5500
LLP 333 Main Street                                  Marvin.Putnam@lw.com
Armonk, NY 10504                                                             Via Electronic Mail
914-749-8200                                         Michele D. Johnson
dboies@bsfllp.com                                    Latham & Watkins LLP
                                                     650 Town Center Drive, 20th Floor
                                                     Costa Mesa, CA 92626
                                                     714-540-1235
                                                     michele.johnson@lw.com
                                                                             Via Electronic Mail
                                                     Susan E. Engel
                                                     Latham & Watkins LLP
                                                     555 Eleventh Street, N.W., Suite 1000
                                                     Washington, DC 20004
                                                     202-637-2200
                                                     Susan.Engel@lw.com




                                               -2-
Case MDL No. 3076 Document 33-2 Filed 03/08/23 Page 3 of 33




                                                   Via Electronic Mail
                            Roberto Martinez Colson
                            Hicks Eidson
                            255 Alhambra Circle, Penthouse
                            Coral Gables, FL 33134-2351
                            305-476-7400
                            476-7444
                            bob@colson.com

                            Counsel for Defendant Kevin O'Leary:
                                                     Via Electronic Mail
                            Brandon Scott Floch
                            Marcus Neiman Rashbaum & Pineiro LLP 2
                            South Biscayne Blvd.Suite 2530
                            Miami, FL 33131
                            305-434-4943
                            bfloch@mnrlawfirm.com
                                                     Via Electronic Mail
                            Jeffrey Eldridge Marcus
                            Marcus Neiman & Rashbaum, LLP
                            One Biscayne Tower - Suite 1750 2
                            South Biscayne Boulevard Miami,
                            FL 33131
                            305-400-4260
                            866-780-8355
                            jmarcus@mnrlawfirm.com
                                                     Via Electronic Mail
                            Jeffrey Adam Neiman
                            Marcus Neiman & Rashbaum LLP
                            100 Southeast Third Avenue, Suite 805
                            Fort Lauderdale, FL 33394
                            954-462-1200
                            954-688-2492
                            jneiman@mnrlawfirm.com
                                                     Via Electronic Mail
                            Michael Anthony Pineiro
                            Marcus Neiman & Rashbaum LLP
                            2 S. Biscayne Boulevard, Suite 1750
                            Miami, FL 33131
                            305-400-4268
                            mpineiro@mnrlawfirm.com
                                                     Via Electronic Mail
                            Andrew B. Brettler Berk Brettler
                            LLP 9119 Sunset Blvd.
                            West Hollywood, CA 90069
                            310-278-2111
                            abrettler@berkbrettler.com


                            -3-
        Case MDL No. 3076 Document 33-2 Filed 03/08/23 Page 4 of 33




                                           Counsel for Defendant David Ortiz:
                                                                    Via Electronic Mail
                                           Christopher Stephen Carver
                                           Akerman LLP
                                           201 East Las Olas Blvd., Suite 1800
                                           Ft. Lauderdale, FL 33301
                                           954-463-2700
                                           954-468-2454
                                           christopher.carver@akerman.com
                                                                    Via Electronic Mail
                                           Jason Samuel Oletsky
                                           Akerman LLP
                                           201 East Las Olas Boulevard, Ste 1800
                                           Fort Lauderdale, FL 33301
                                           954-759-8909
                                           954-463-2224
                                           jason.oletsky@akerman.com
                                                                    Via Electronic Mail
                                           Katherine Ann Johnson
                                           Akerman LLP
                                           201 E. Las Olas Blvd., Suite 1800 Fort
                                           Lauderdale, FL 33301
                                           954-463-2700
                                           954-463-2224
                                           Katie.johnson@akerman.com

                  US District Court for the Southern District of Florida
            Garrison et al v. Bankman-Fried et al, Case No.: 1:22-CV-23753
Counsel for Plaintiffs:                     Counsel for Defendants Thomas Brad, Gisele
                         Via Electronic     Bundchen, and Lawrence Gene David:
                         Mail                                       Via Electronic Mail
Adam M. Moskowitz                           Stephanie Anne Casey
The Moskowitz Law Firm,                     Colson Hicks Eidson
PLLC 2 Alhambra Plaza,                      255 Alhambra Circle, PH
Suite 601 Coral Gables, FL                  Coral Gables, FL 33134
33134-6036 305-740-1423                     305-476-7400
adam@moskowitz-law.com                      scasey@colson.com
                         Via Electronic                             Via Electronic Mail
                         Mail               Zachary Andrew Lipshultz
Jose Manuel Ferrer                          Colson Hicks Eidson 255
Mark Migdal and                             Alhambra Circle Coral
Hayden 80 SW 8 Street,                      Gables, FL 33134 305-
Suite 1999                                  476-7400
Miami, FL 33131                             zach@colson.com
305-374-0440
jose@markmigdal.com


                                           -4-
        Case MDL No. 3076 Document 33-2 Filed 03/08/23 Page 5 of 33




                       Via Electronic Mail                           Via Electronic Mail
Joseph M. Kaye                               Andrew B. Clubok
The Moskowitz Law Firm, PLLC                 Latham & Watkins LLP
2 Alhambra Plaza, Suite 601                  555 Eleventh Street, NW, Suite 1000
Miami, FL 33134                              Washington, DC 20004
305-740-1423                                 202-637-2200
joseph@moskowitz-law.com                     andrew.clubok@lw.com
                       Via Electronic Mail                           Via Electronic Mail
Stephen N. Zack                              Brittany M.J. Record
Boies Schiller &                             Latham & Watkins LLP
Flexner 100 SE 2nd                           555 Eleventh Street, N.W., Suite 1000
Street                                       Washington, DC 20004
Suite 2800, Miami                            202-637-2200
Tower Miami, FL                              Brittany.Record@lw.com
33131-2144                                                           Via Electronic Mail
305-539-8400                                 Elizabeth A. Greenman
305-539-1307                                 Latham & Watkins LLP
szack@bsfllp.com                             10250 Constellation Blvd., Suite 1100
                       Via Electronic Mail   Los Angels, CA 90067
Ursula Ungaro                                424-653-5500
Boies Schiller Flexner                       Elizabeth.Greenman@lw.com
LLP 100 SE 2nd Street,                                               Via Electronic Mail
Suite 2800                                   Jessica Stebbins Bina
Miami, FL 33131                              Latham & Watkins LLP
305-479-6553                                 10250 Constellation Blvd. Suite 1100 Los
uungaro@bsfllp.com (Inactive)                Angeles, CA 90067
                       Via Electronic Mail   424-653-5500
Alexander Boies                              Jessica.stebbinsbina@lw.com
Boies Schiller Flexner                                               Via Electronic Mail
LLP 333 Main Street                          Marvin Putnam
Armonk, NY 10504                             Latham & Watkins LLP
914-749-8200                                 10250 Constellation Blvd., Suite 1100
aboies@bsfllp.com                            Los Angeles, CA 90067
                       Via Electronic Mail   424-653-5500
David Boies                                  Marvin.Putnam@lw.com
Boies Schiller Flexner                                               Via Electronic Mail
LLP 333 Main Street                          Michele D. Johnson
Armonk, NY 10504                             Latham & Watkins LLP
914-749-8200                                 650 Town Center Drive, 20th Floor Costa
dboies@bsfllp.com                            Mesa, CA 92626
                                             714-540-1235
                                             michele.johnson@lw.com



                      Via Electronic Mail


                                             -5-
        Case MDL No. 3076 Document 33-2 Filed 03/08/23 Page 6 of 33




Tyler Evan Ulrich
Boies Schiller and Flexner LLP                              Via Electronic Mail
100 SE 2nd Street, Suite 2800       Susan E. Engel
Miami, FL 33131                     Latham & Watkins LLP
305-539-8400                        555 Eleventh Street, N.W., Suite
Fax: 305-539-1307                   1000Washington, DC 20004
Email: tulrich@bsfllp.com           202-637-2200
                                    Susan.Engel@lw.com
                                                            Via Electronic Mail
                                    Roberto Martinez Colson
                                    Hicks Eidson
                                    255 Alhambra Circle, Penthouse
                                    Coral Gables, FL 33134-2351 305-
                                    476-7400
                                    bob@colson.com

                                    Counsel for Defendant Kevin O'Leary:
                                                            Via Electronic Mail
                                    Brandon Scott Floch
                                    Marcus Neiman Rashbaum & Pineiro LLP 2
                                    South Biscayne Blvd. Suite 2530
                                    Miami, FL 33131
                                    305-434-4943
                                    bfloch@mnrlawfirm.com
                                                            Via Electronic Mail
                                    Jeffrey Eldridge Marcus
                                    Marcus Neiman & Rashbaum, LLP
                                    One Biscayne Tower - Suite 1750 2
                                    South Biscayne Boulevard Miami,
                                    FL 33131
                                    305-400-4260
                                    866-780-8355
                                    jmarcus@mnrlawfirm.com
                                                            Via Electronic Mail
                                    Jeffrey Adam Neiman
                                    Marcus Neiman & Rashbaum LLP
                                    100 Southeast Third Avenue, Suite 805
                                    Fort Lauderdale, FL 33394
                                    954-462-1200
                                    954-688-2492
                                    jneiman@mnrlawfirm.com
                                                            Via Electronic Mail
                                    Michael Anthony Pineiro
                                    Marcus Neiman & Rashbaum LLP
                                    2 S. Biscayne Boulevard, Suite 1750
                                    Miami, FL 33131
                                    305-400-4268



                                    -6-
Case MDL No. 3076 Document 33-2 Filed 03/08/23 Page 7 of 33




                            mpineiro@mnrlawfirm.com
                                                       Via Electronic Mail
                            Andrew B. Brettler Berk Brettler
                            LLP 9119 Sunset Blvd.
                            West Hollywood, CA 90069
                            310-278-2111
                            abrettler@berkbrettler.com

                            Counsel for Defendant David Ortiz:
                                                     Via Electronic Mail
                            Christopher Stephen Carver
                            Akerman LLP
                            201 East Las Olas Blvd., Suite 1800
                            Ft. Lauderdale, FL 33301
                            954-463-2700
                            954-468-2454
                            christopher.carver@akerman.com
                                                     Via Electronic Mail
                            Jason Samuel Oletsky
                            Akerman LLP
                            201 East Las Olas Boulevard, Ste 1800
                            Fort Lauderdale, FL 33301
                            954-759-8909
                            954-463-2224
                            jason.oletsky@akerman.com
                                                     Via Electronic Mail
                            Katherine Ann Johnson
                            Akerman LLP
                            201 E. Las Olas Blvd., Suite 1800 Fort
                            Lauderdale, FL 33301
                            954-463-2700
                            954-463-2224
                            Katie.johnson@akerman.com

                            Counsel for William Trevor Lawrence
                                                    Via Electronic Mail
                            MGC Law
                            Tommy Lydon, Attorney
                            tlydon@mgclaw.com
                            1320 Main Street, 10th Floor
                            Columbia, SC 29201
                            Main:803-779-2300 Direct:803-
                            227-2292 Fax:803-748-0526



                                                    Via Electronic Mail


                            -7-
Case MDL No. 3076 Document 33-2 Filed 03/08/23 Page 8 of 33




                           Dimond Kaplan & Rothstein, P.A.
                           David A. Rothstein
                           2665 S. Bayshore Dr., PH-2B
                           Miami, FL 33133
                           Telephone: 305-374-1920
                           Fax: 305-374-1961
                           DRothstein@dkrpa.com

                            Counsel for Golden State Warriors, LLC
                                                    Via Electronic Mail
                            Gibson, Dunn & Crutcher LLP
                            Matthew S. Kahn 555
                            Mission Street
                            San Francisco, CA 94105-0921 Tel
                            +1 415.393.8212
                            Fax +1 415.374.8466
                            MKahn@gibsondunn.com

                            Counsel for Samuel Bankman-Fried
                                                       Via Electronic Mail
                            Jeremy D. Mishkin
                            Montgomery McCracken Walker & Rhoads
                            LLP
                            1735 Market Street
                            Philadelphia, PA 19103-7505
                            Direct: 215-772-7246
                            jmishkin@mmwr.com
                                                                  Via Mail
                            Defendant, Stephen Curry
                            28 Selby Ln, Atherton, CA 94027
                                                                  Via Mail
                            Defendant, Shaquille O’Neal
                            4012 Sahara Ct, Carrollton, TX 75010
                                                                  Via Mail
                            Defendant, Udonis Haslem 5450
                            SW 192nd Terrace
                            Southwest Ranches, Florida 33332-3
                                                                  Via Mail
                            Defendant, Shohei Ohtani
                            2000 Gene Autry Way
                            Anaheim, California, 92806
                                                                  Via Mail
                            Defendant, Naomi Osaka
                            9621 Arby Dr.
                            Beverly Hills, California, 90210
                                                                  Via Mail
                            Consol Defendant, Sam Trabucco 36


                            -8-
Case MDL No. 3076 Document 33-2 Filed 03/08/23 Page 9 of 33




                            Winner Circle,
                            Wells ME 04090-5174
                                                              Via Mail
                            Defendant Caroline Ellison
                            327 Franklin Street
                            Newton, MA 02458
                            and
                                                    Via Electronic Mail
                            c/o Stephanie Avakian
                            Wilmer Hale
                            2100 Pennsylvania Avenue NW
                            Washington DC 20037
                            Phone: 202-663-6471
                            stephanie.avakian@wilmerhale.com

                                                                Via Mail
                            Defendant Zixiao Gary Wang
                            304 Island Lane
                            Egg Harbor Township, NJ 08234
                            and
                                                     Via Electronic Mail
                            c/o Alex B. Miller
                            Fried Frank
                            One New York Plaza
                            New York, New York 10004 T:
                            +1.212.859.8000
                            ilan.graff@friedfrank.com;
                            alex.miller@friedfrank.com
                                                                Via Mail
                            Defendant Nishad Singh
                            746 Jennifer Way
                            Milpitas, CA 95035 and
                                                     Via Electronic Mail
                            c/o Andrew Goldstein
                            Cooley LLP
                            1299 Pennsylvania Avenue, NW
                            Suite 700
                            Washington, DC 20004-2400
                            agoldstein@cooley.com
                            +1 202 842 7800 phone
                                                     Via Electronic Mail
                            Consol Defendant, Dan Friedberg
                            c/o Telemachus P. Kasulis
                            Morvillo Abramowitz Grand Iason & Anello PC
                            565 Fifth Avenue New
                            York, NY 10017
                            212.880.9555
                            tkasulis@maglaw.com

                            -9-
        Case MDL No. 3076 Document 33-2 Filed 03/08/23 Page 10 of 33




                  US District Court for the Southern District of Florida
              Podalsky et al v. Bankman-Fried et al, Case No.: 1:22-cv-23983

Counsel for Plaintiffs:                            Counsel for Defendants Thomas Brady,
                          Via Electronic Mail      Gisele Bundchen, and Lawrence Gene David:
Adam M. Moskowitz                                                          Via Electronic Mail
The Moskowitz Law Firm, PLLC 2                     Stephanie Anne Casey
Alhambra Plaza, Suite 601 Coral                    Colson Hicks Eidson
Gables, FL 33134-6036                              255 Alhambra Circle, PH
305-740-1423                                       Coral Gables, FL 33134
adam@moskowitz-law.com                             305-476-7400
                       Via Electronic Mail         305-476-7444
Jose Manuel Ferrer                                 scasey@colson.com
Mark Migdal and Hayden                                                     Via Electronic Mail
80 SW 8 Street, Suite 1999                         Zachary Andrew Lipshultz
Miami, FL 33131                                    Colson Hicks Eidson
305-374-0440                                       255 Alhambra Circle
jose@markmigdal.com                                Coral Gables, FL 33134
                       Via Electronic Mail         305-476-7400
Joseph M. Kaye                                     zach@colson.com
The Moskowitz Law Firm,                                                    Via Electronic Mail
PLLC 2 Alhambra Plaza, Suite                       Andrew B. Clubok
601                                                Latham & Watkins LLP
Miami, FL 33134                                    555 Eleventh Street, NW, Suite 1000
305-740-1423                                       Washington, DC 20004
joseph@moskowitz-law.com                           202-637-2200
                       Via Electronic Mail         andrew.clubok@lw.com
Stephen N. Zack                                                            Via Electronic Mail
Boies Schiller &                                   Brittany M.J. Record
Flexner 100 SE 2nd                                 Latham & Watkins LLP
Street                                             555 Eleventh Street, N.W., Suite 1000
Suite 2800, Miami                                  Washington, DC 20004
Tower Miami, FL                                    202-637-2200
33131-2144                                         Brittany.Record@lw.com
305-539-8400                                                               Via Electronic Mail
305-539-1307                                       Elizabeth A. Greenman
szack@bsfllp.com                                   Latham & Watkins LLP
                       Via Electronic Mail         10250 Constellation Blvd., Suite 1100
Ursula Ungaro                                      Los Angeles, CA 90067
Boies Schiller Flexner LLP                         424-653-5500
100 SE 2nd Street, Suite                           Elizabeth.Greenman@lw.com
2800
Miami, FL 33131
305-479-6553
uungaro@bsfllp.com


                                                -10-
       Case MDL No. 3076 Document 33-2 Filed 03/08/23 Page 11 of 33




                                                                       Via Electronic Mail
                         Via Electronic Mail      Jessica Stebbins Bina
Alexander Boies                                   Latham & Watkins LLP
Boies Schiller Flexner                            10250 Constellation Blvd. Suite 1100
LLP 333 Main Street                               Los Angeles, CA 90067
Armonk, NY 10504                                  424-653-5500
914-749-8200                                      Jessica.stebbinsbina@lw.com
aboies@bsfllp.com                                                         Via Electronic Mail
                         Via Electronic Mail      Marvin Putnam
David Boies                                       Latham & Watkins LLP
Boies Schiller Flexner                            10250 Constellation Blvd., Suite 1100
LLP 333 Main Street                               Los Angeles, CA 90067
Armonk, NY 10504                                  424-653-5500
914-749-8200                                      Marvin.Putnam@lw.com
dboies@bsfllp.com                                                         Via Electronic Mail
                                                  Michele D. Johnson
                                                  Latham & Watkins LLP
                                                  650 Town Center Drive, 20th Floor
                                                  Costa Mesa, CA 92626
                                                  714-540-1235
                                                  michele.johnson@lw.com
                                                                          Via Electronic Mail
                                                  Susan E. Engel
                                                  Latham & Watkins LLP
                                                  555 Eleventh Street, N.W., Suite 1000
                                                  Washington, DC 20004
                                                  202-637-2200
                                                  Susan.Engel@lw.com
                                                                          Via Electronic Mail
                                                  Roberto Martinez
                                                  Colson Hicks Eidson
                                                  255 Alhambra Circle, Penthouse
                                                  Coral Gables, FL 33134-2351
                                                  305-476-7400
                                                  bob@colson.com

                                                  Counsel for Defendant Kevin O'Leary:
                                                                          Via Electronic Mail
                                                  Brandon Scott Floch
                                                  Marcus Neiman Rashbaum & Pineiro LLP
                                                  2 South Biscayne Blvd.
                                                  Suite 2530
                                                  Miami, FL 33131
                                                  305-434-4943
                                                  bfloch@mnrlawfirm.com




                                               -11-
Case MDL No. 3076 Document 33-2 Filed 03/08/23 Page 12 of 33




                               Jeffrey Eldridge Marcus
                               Marcus Neiman & Rashbaum, LLP
                               One Biscayne Tower - Suite 1750
                               2 South Biscayne Boulevard
                               Miami, FL 33131
                               305-400-4260
                               866-780-8355
                               jmarcus@mnrlawfirm.com
                                                       Via Electronic Mail
                               Jeffrey Adam Neiman
                               Marcus Neiman & Rashbaum LLP
                               100 Southeast Third Avenue, Suite 805
                               Fort Lauderdale, FL 33394
                               954-462-1200
                               954-688-2492
                               jneiman@mnrlawfirm.com

                                                        Via Electronic Mail
                               Michael Anthony Pineiro
                               Marcus Neiman & Rashbaum LLP
                               2 S. Biscayne Boulevard, Suite 1750
                               Miami, FL 33131
                               305-400-4268
                               mpineiro@mnrlawfirm.com
                                                        Via Electronic Mail
                               Andrew B. Brettler
                               Berk Brettler LLP
                               9119 Sunset Blvd.
                               West Hollywood, CA 90069
                               310-278-2111
                               abrettler@berkbrettler.com

                               Counsel for Defendant David Ortiz:
                                                       Via Electronic Mail
                               Christopher Stephen Carver
                               Akerman LLP
                               201 East Las Olas Blvd., Suite 1800
                               Ft. Lauderdale, FL 33301
                               954-463-2700
                               954-468-2454
                               christopher.carver@akerman.com




                               Jason Samuel Oletsky

                            -12-
Case MDL No. 3076 Document 33-2 Filed 03/08/23 Page 13 of 33




                               Akerman LLP
                               201 East Las Olas Boulevard, Ste 1800
                               Fort Lauderdale, FL 33301
                               954-759-8909
                               954-463-2224
                               jason.oletsky@akerman.com
                                                        Via Electronic Mail
                               Katherine Ann Johnson
                               Akerman LLP
                               201 E. Las Olas Blvd., Suite 1800
                               Fort Lauderdale, FL 33301
                               954-463-2700
                               954-463-2224
                               Katie.johnson@akerman.com

                               Counsel for Trevor Lawrence
                                                       Via Electronic Mail
                               MGC Law
                               Tommy Lydon, Attorney
                               tlydon@mgclaw.com
                               1320 Main Street, 10th Floor
                               Columbia, SC 29201
                               Main:803-779-2300
                               Direct:803-227-2292
                               Fax:803-748-0526

                               Counsel for Golden State Warriors, LLC
                                                       Via Electronic Mail
                               Gibson, Dunn & Crutcher LLP
                               Matthew S. Kahn
                               555 Mission Street
                               San Francisco, CA 94105-0921
                               Tel +1 415.393.8212
                               Fax +1 415.374.8466
                               MKahn@gibsondunn.com

                               Counsel for Samuel Bankman-Fried
                                                      Via Electronic Mail
                               Jeremy D. Mishkin
                               Montgomery McCracken Walker & Rhoads
                               LLP
                               1735 Market Street
                               Philadelphia, PA 19103-7505
                               Direct: 215-772-7246
                               jmishkin@mmwr.com




                            -13-
Case MDL No. 3076 Document 33-2 Filed 03/08/23 Page 14 of 33




                                                                  Via Mail
                               Defendant Udonis Haslem
                               5450 SW 192nd Terrace
                               Southwest Ranches, Florida 33332
                                                                  Via Mail
                               Defendant Sam Trabucco
                               36 Winner Circle,
                               Wells ME 04090-5174
                                                                  Via Mail
                               Defendant Caroline Ellison
                               327 Franklin Street
                               Newton, MA 02458
                               and                     Via Electronic Mail
                               c/o Stephanie Avakian
                               Wilmer Hale
                               2100 Pennsylvania Avenue NW
                               Washington DC 20037
                               Phone: 202-663-6471
                               stephanie.avakian@wilmerhale.com
                                                                   Via Mail
                               Defendant Zixiao Gary Wang
                               304 Island Lane
                               Egg Harbor Township, NJ 08234
                               And                      Via Electronic Mail
                               c/o Alex B. Miller
                               Fried Frank
                               One New York Plaza
                               New York, New York 10004
                               T: +1.212.859.8000
                               ilan.graff@friedfrank.com;
                               alex.miller@friedfrank.com
                                                                   Via Mail
                               Defendant Nishad Singh
                               746 Jennifer Way
                               Milpitas, CA 95035
                               and                     Via Electronic Mail
                               c/o Andrew Goldstein
                               Cooley LLP
                               1299 Pennsylvania Avenue, NW
                               Suite 700
                               Washington, DC 20004-2400
                               agoldstein@cooley.com
                               +1 202 842 7800 phone
                                                        Via Electronic Mail
                               Defendant Dan Friedberg
                               c/o Telemachus P. Kasulis
                               Morvillo Abramowitz Grand Iason & Anello
                               PC

                            -14-
       Case MDL No. 3076 Document 33-2 Filed 03/08/23 Page 15 of 33




                                             565 Fifth Avenue
                                             New York, NY 10017
                                             212.880.9555
                                             tkasulis@maglaw.com
                                                                                Via Mail
                                             Defendant Stephen Curry
                                             28 Selby Ln, Atherton, CA 94027
                                                                                Via Mail
                                             Defendant Shaquille ONeal
                                             4012 Sahara Ct, Carrollton, TX 75010
                                                                                Via Mail
                                             Defendant Shohei Ohtani
                                             2000 Gene Autry Way
                                             Anaheim, California, 92806
                                                                                Via Mail
                                             Defendant Naomi Osaka
                                             9621 Arby Dr.
                                             Beverly Hills, California, 90210


                   O’Keefe et al v Sequoia Capital Operations, LLC et al
                      Case No.: 1:23-CV-20700, Judge Jose E. Martinez
Counsel for Plaintiff:                                                           Via Mail
                        Via Electronic Mail   Defendant, Sequoia Capital Operations,
Amy Michelle Bowers                           LLC
Stumphauzer Foslid Sloman Ross & Kolaya,      Through It's Registered Agent, The
PLLC                                          Corporation Trust Company Corporation
2 South Biscayne Boulevard, Suite 1600        Trust Center
Miami, FL 33131                               1209 Orange St.
305-614-1404                                  Wilmington, DE 19801
Fax: 305-614-1425                                                                Via Mail
Email: abowers@sfslaw.com                     Defendant, Silvergate Bank
                        Via Electronic Mail   Through It's Registered Agent, CT
Jorge A. Perez Santiago                       Corporation System
Stumphauzer Kolaya Nadler & Sloman, PLLC 330 N. Brand Blvd., Ste. 700,
Two South Biscayne Boulevard, Ste 1600        Glendale, CA 91203
Miami, FL 33131                                                                  Via Mail
305-614-1400                                  Defendant, Signature Bank
Email: jperezsantiago@sknlaw.com              565 Fifth Avenue
                        Via Electronic Mail   New York, NY 70017
Benjamin D. Reichard                                                             Via Mail
Richard Haygood L.L.P.                        Defendant, Deltec Bank and Trust Company
201 St. Charles Avenue, 46th Floor New        Limited
Orleans, LA 70170                             Deltec House, Lyford Cay
(504) 586-5252                                Nassau, Bahamas
Email: breichard@fishmanhaygood.com




                                          -15-
       Case MDL No. 3076 Document 33-2 Filed 03/08/23 Page 16 of 33




                      Via Electronic Mail                                          Via Mail
C. Hogan Paschal                                Defendant, Farmington State Bank
Fishman Haygood L.L.P.                          d/b/a Moonstone Bank
201 St. Charles Avenue, 46th Floor New          103 North First Street
Orleans, LA 70170                               Farmington, WA 99128
(504) 586-5252                                                                     Via Mail
Email: hpaschal@fishmanhaygood.com              Defendant, Jean Chalopin
                       Via Electronic Mail      Deltec Houst, Lyford Cay
James R. Swanson                                Nassau, Bahamas
Fishman Haygood L.L.P.                                                             Via Mail
201 St. Charles Avenue, 46th Floor New          Defendant, Thoma Bravo L.P.
Orleans, LA 70170                               Through It's Registered Agent,
(504) 586-5252                                  CT Corporation System
Email: jswanson@fishmanhaygood.com              28 Liberty Street
                                                New York, NY 10005
                     Via Electronic Mail
Kerry James Miller                                                                 Via Mail
Fishman Haygood LLP                             Defendant, Paradigm Operations LP
201 St. Charles Avenue, Suite 4600              Through It's Registered Agent, Cogency
New Orleans, LA 70170                           Global, Inc.
504-586-5252                                    850 New Burton Road, Suite 201
Email: kmiller@fishmanhaygood.com               Dover, DE 19904
                     Via Electronic Mail                                           Via Mail
Monica Bergeron                                 Defendant, Temasek Holdings (Private)
Fishman Haygood                                 Limited
L.L.P.                                          Through It's Registered Agent, Corporation
201 St. Charles Avenue, 46th Floor              Service Company 251 Little Falls Drive
New Orleans, LA 70170                           Wilmington, DE 19808
(504) 586-5252                                                                     Via Mail
Email: mbergeorn@fishmanhaygood.com             Defendant, Softbank Vision Fund (AIV M2)
                     Via Electronic Mail        L.P.
Timothy Andrew Kolaya                           Through It's Registered Agent, Corporation
Stumphauzer Kolaya Nadler & Sloman,             Service Company 251 Little Falls Drive
PLLC 2 S. Biscayne Boulevard, Suite 1600        Wilmington, DE 19808
Miami, FL 33131                                                                    Via Mail
305-614-1400                                    Defendant, Ribbit Capital, L.P.
Fax: 305-614-1425                               Through It's Registered Agent, The
Email: tkolaya@sknlaw.com                       Corporation Trust Company Corporation
                                                Trust Center 1209 Orange St.
                                                Wilmington, DE 19801




                                                                                   Via Mail


                                             -16-
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                               Defendant, Altimeter Capital Management,
                               LP
                               Through It's Registered Agent, The
                               Corporation Trust Company Corporation
                               Trust Center 1209 Orange St.
                               Wilmington, DE 19801
                                                                  Via Mail
                               Defendant, Multicoin Capital Management
                               LLC
                               501 West Ave., Apt. 3803
                               Austin, TX 78701
                                                                  Via Mail
                               Defendant, Tiger Global Management, LLC
                               Through It's Registered Agent,
                               Corporation Service Company
                               251 Little Falls Drive
                               Wilmington, DE 19808
                                                                  Via Mail
                               Defendant, Sino Global Capital Limited
                               c/o Matthew Graham Chaoyang, Beijing,
                               Beijing Shi, 100125, China
                                                                  Via Mail
                               Defendant, Fenwick & West LLP
                               Silicon Valley Center
                               801 California Street Mountain View, CA
                               94041
                                                                  Via Mail
                               Defendant, Prager Metis CPAs, LLC
                               14 Penn Plaza, Suite 1800 New York, NY
                               10121
                                                                  Via Mail
                               Defendant, Armanino, LLP
                               12657 Alcosta Blvd, Suite 500
                               San Ramon, CA 94583
                                                                  Via Mail
                               Defendant, Softbank Group Corp.
                               Attn: SBGI Legal
                               1 Circle Star Way, 4F
                               San Carlos, CA 94070




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        Case MDL No. 3076 Document 33-2 Filed 03/08/23 Page 18 of 33




                 US District Court for the Northern District of California
                Papadakis v. Bankman-Fried et al, Case No.: 3:23-CV-00024

Counsel for Plaintiff:                             Counsel for Defendant Armanino LLP:
                        Via Electronic Mail                                   Via Electronic Mail
Frederic S. Fox                                    Ann Marie Mortimer
Kaplan Fox & Kilsheimer                            Hunton Andrews Kurth LLP
850 Third Avenue, 14th Floor                       550 South Hope Street, Suite 2000
New York, NY 10022                                 Los Angeles, CA 90071
212-687-1980                                       213-532-2103
FFox@kaplanfox.com                                 amortimer@HuntonAK.com
                        Via Electronic Mail                                   Via Electronic Mail
Jeffrey Philip Campisi                             Kirk Austin Hornbeck
Kaplan Fox and Kilsheimer LLP                      Hunton Andrews Kurth LLP
850 Third Avenue                                   Los Angeles Office
New York, NY 10022                                 550 S. Hope Street, Suite 2000
212-687-1980                                       Los Angeles, CA 90071
jcampisi@kaplanfox.com                             213-532-2000
                        Via Electronic Mail        213-532-2020
Joel B. Strauss                                    khornbeck@HuntonAK.com
Kaplan Fox & Kilsheimer LLP                                                   Via Electronic Mail
805 Third Avenue, 14th Floor                       Thomas Richard Waskom
New York, NY 10022                                 Hunton Andrews Kurth LLP
212-687-1980                                       951 East Byrd St.
212-687-7714                                       Richmond, VA 23219
jstrauss@kaplanfox.com                             804-788-8403
                                                   twaskom@HuntonAK.com
                          Via Electronic Mail
Kathleen A. Herkenhoff
Kaplan Fox & Kilsheimer LLP
1999 Harrison Street, Suite 1560
Oakland, CA 94612
415-772-4700
415-772-4707
Kherkenhoff@kaplanfox.com
                          Via Electronic Mail
Laurence D. King
Kaplan Fox & Kilsheimer LLP 1999
Harrison Street, Suite 1560
Oakland, CA 94612
415-772-4700
415-772-4707
lking@kaplanfox.com




                                                -18-
Case MDL No. 3076 Document 33-2 Filed 03/08/23 Page 19 of 33




                               Counsel for Defendant Prager Metis CPAs,
                               LLC:
                                                         Via Electronic Mail
                               Bruce Roger Braun
                               Sidley Austin LLP
                               One S. Dearborn
                               Chicago, Il 60603
                               312-853-7000
                               312-853-7036
                               bbraun@sidley.com
                                                         Via Electronic Mail
                               Joanna Rubin Travalini
                               Sidley Austin LLP
                               One South Dearborn Street
                               Chicago, IL 60603
                               312-853-2077
                               jtravalini@sidley.com
                                                         Via Electronic Mail
                               Sarah Alison Hemmendinger
                               Sidley Austin LLP
                               555 California Street, Suite 2000
                               San Francisco, CA 94104
                               415-772-7413
                               415-772-7400
                               shemmendinger@sidley.com
                                                         Via Electronic Mail
                               Tommy Hoyt
                               Sidley Austin LLP
                               One S. Dearborn Street
                               Chicago, IL 60603
                               312-853-0914
                               312-853-7036
                               thoyt@sidley.com
                                                         Via Electronic Mail
                               Defendant Samuel Bankman-Fried
                               c/o Jeremy D. Mishkin
                               Montgomery McCracken Walker & Rhoads
                               LLP
                               1735 Market Street
                               Philadelphia, PA 19103-7505
                               Direct: 215-772-7246
                               jmishkin@mmwr.com
                                                                    Via Mail
                               Defendant Caroline Ellison
                               327 Franklin Street
                               Newton, MA 02458
                               and


                            -19-
       Case MDL No. 3076 Document 33-2 Filed 03/08/23 Page 20 of 33




                                                                        Via Electronic Mail
                                              c/o Stephanie Avakian Wilmer Hale
                                              2100 Pennsylvania Avenue NW
                                              Washington DC 20037
                                              Phone: 202-663-6471
                                              stephanie.avakian@wilmerhale.com
                                                                                  Via Mail
                                              Defendant Zixiao Gary Wang
                                              304 Island Lane
                                              Egg Harbor Township, NJ 08234
                                              and
                                                                       Via Electronic Mail
                                              c/o Alex B. Miller
                                              Fried Frank
                                              One New York Plaza
                                              New York, New York 10004
                                              T: +1.212.859.8000
                                              ilan.graff@friedfrank.com;
                                              alex.miller@friedfrank.com
                                                                                  Via Mail
                                              Defendant Nishad Singh
                                              746 Jennifer Way
                                              Milpitas, CA 95035
                                              And
                                                                       Via Electronic Mail
                                              c/o Andrew Goldstein
                                              Cooley LLP
                                              1299 Pennsylvania Avenue, NW
                                              Suite 700
                                              Washington, DC 20004-2400
                                              agoldstein@cooley.com
                                              +1 202 842 7800 phone

                 US District Court for the Northern District of California
               Jessup v. Bankman-Fried et al, Case No.: 3:22-cv-07666-JSC
Counsel for Plaintiff:                                                Via Electronic Mail
                       Via Electronic Mail    Defendant Samuel Bankman-Fried
P. Solange Hilfinger-Pardo                    c/o Jeremy D. Mishkin
Edelson PC                                    Montgomery McCracken Walker & Rhoads
150 California Street                         LLP
18th Floor                                    1735 Market Street
San Francisco, CA                             Philadelphia, PA 19103-7505
94111 415-212-9300                            Direct: 215-772-7246
shilfingerpardo@edelson.com                   jmishkin@mmwr.com




                                          -20-
       Case MDL No. 3076 Document 33-2 Filed 03/08/23 Page 21 of 33




                       Via Electronic Mail                                         Via Mail
Todd M. Logan                                   Defendant Caroline Ellison
Edelson PC                                      327 Franklin Street
150 California Street, 18th Floor San           Newton, MA 02458 and
Francisco, CA 94111                                                      Via Electronic Mail
(415) 212-9300                                  c/o Stephanie Avakian
Fax: (415) 373-9435                             Wilmer Hale
tlogan@edelson.com                              2100 Pennsylvania Avenue NW
                                                Washington DC 20037
                                                Phone: 202-663-6471
                                                stephanie.avakian@wilmerhale.com
                                                                                    Via Mail
                                                Defendant Zixiao Gary Wang
                                                304 Island Lane
                                                Egg Harbor Township, NJ 08234
                                                and
                                                                         Via Electronic Mail
                                                c/o Alex B. Miller
                                                Fried Frank
                                                One New York Plaza
                                                New York, New York 10004
                                                T: +1.212.859.8000
                                                ilan.graff@friedfrank.com;
                                                alex.miller@friedfrank.com
                                                                                    Via Mail
                                                Defendant Nishad Singh
                                                746 Jennifer Way
                                                Milpitas, CA 95035
                                                And
                                                                         Via Electronic Mail
                                                c/o Andrew Goldstein
                                                Cooley LLP
                                                1299 Pennsylvania Avenue, NW
                                                Suite 700
                                                Washington, DC 20004-2400
                                                agoldstein@cooley.com
                                                +1 202 842 7800 phone
                                                                                    Via Mail
                                                Defendant Sam Trabucco
                                                36 Winner Circle,
                                                Wells ME 04090-5174




                                             -21-
       Case MDL No. 3076 Document 33-2 Filed 03/08/23 Page 22 of 33




                 US District Court for the Northern District of California
                Hawkins v. Bankman-Fried et al, Case No.: 3:22-CV-07620
Counsel for Plaintiff:                         Defendant Samuel Bankman-Fried
                         Via Electronic Mail                            Via Electronic Mail
Jennifer Pafiti                                c/o Jeremy D. Mishkin
Pomerantz LLP                                  Montgomery McCracken Walker & Rhoads
1100 Glendon Avenue, 15th                      LLP
Floor Los Angeles, CA 90024                    1735 Market Street
310-405-7190                                   Philadelphia, PA 19103-7505
jpafiti@pomlaw.com                             Direct: 215-772-7246
                           Via Electronic Mail jmishkin@mmwr.com
Eitan Kimelman                                                                       Via Mail
Bronstein Gewirtz & Grossman LLC               Defendant Caroline Ellison
60 East 42nd Street, Suite 4600                327 Franklin Street
New York, NY 10165                             Newton, MA 02458
212-697-6484                                   and
212-697-7296                                                              Via Electronic Mail
eitank@bgandg.com                              c/o Stephanie Avakian
                           Via Electronic Mail Wilmer Hale
J Alexander Hood, II                           2100 Pennsylvania Avenue NW
Pomerantz LLP                                  Washington DC 20037
600 Third Avenue, 20th Floor                   Phone: 202-663-6471
New York, NY 10016                             stephanie.avakian@wilmerhale.com
212-661-1100                                                                         Via Mail
212-661-8665                                   Defendant Zixiao Gary Wang
ahood@pomlaw.com                               304 Island Lane
                           Via Electronic Mail Egg Harbor Township, NJ 08234
Jeremy A. Lieberman                            and
Pomerantz LLP                                                             Via Electronic Mail
600 Third Avenue, 20th Floor                   c/o Alex B. Miller
New York, NY 10016                             Fried Frank
212-661-1100                                   One New York Plaza
212-661-8665                                   New York, New York 10004
jalieberman@pomlaw.com                         T: +1.212.859.8000
                           Via Electronic Mail ilan.graff@friedfrank.com;
Peretz Bronstein                               alex.miller@friedfrank.com
Bronstein Gewirtz & Grossman, LLC
60 East 42nd Street, Suite 4600                                                      Via Mail
New York, NY 10165                             Defendant Nishad Singh
212-697-6484                                   746 Jennifer Way
212-697-7296                                   Milpitas, CA 95035
peretz@bgandg.com                              And




                                            -22-
Case MDL No. 3076 Document 33-2 Filed 03/08/23 Page 23 of 33




                                                        Via Electronic Mail
                               c/o Andrew Goldstein Cooley LLP
                               1299 Pennsylvania Avenue, NW
                               Suite 700
                               Washington, DC 20004-2400
                               agoldstein@cooley.com
                               +1 202 842 7800 phone

                               Counsel for Defendant Armanino LLP:
                                                          Via Electronic Mail
                               Ann Marie Mortimer
                               Hunton Andrews Kurth LLP
                               550 South Hope Street, Suite 2000 Los
                               Angeles, CA 90071
                               213-532-2103
                               amortimer@HuntonAK.com
                                                          Via Electronic Mail
                               Kirk Austin Hornbeck
                               Hunton Andrews Kurth LLP Los Angeles
                               Office
                               550 S. Hope Street, Suite 2000
                               Los Angeles, CA 90071
                               213-532-2000
                               213-532-2020
                               khornbeck@HuntonAK.com
                                                          Via Electronic Mail
                               Thomas Richard Waskom
                               Hunton Andrews Kurth LLP 951 East Byrd St.
                               Richmond, VA 23219
                               804-788-8403
                               twaskom@HuntonAK.com




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       Case MDL No. 3076 Document 33-2 Filed 03/08/23 Page 24 of 33




                 US District Court for the Northern District of California
               Pierce et al v. Bankman-Fried et al, Case No.: 3:22-CV-07444
Counsel for Plaintiffs:                         Defendant Samuel Bankman-Fried
                          Via Electronic Mail                            Via Electronic Mail
Marshal Hoda                                    c/o Jeremy D. Mishkin
The Hoda Law Firm, PLLC                         Montgomery McCracken Walker & Rhoads
12333 Sowden Road, Suite B, PMB 51811           LLP
Houston, TX 77080                               1735 Market Street
832-848-0036                                    Philadelphia, PA 19103-7505
marshal@thehodalawfirm.com                      Direct: 215-772-7246
                          Via Electronic Mail jmishkin@mmwr.com
Steven C. Vondran                                                                   Via Mail
The Law Offices of Steven C. Vondran, PC        Defendant Caroline Ellison
One Sansome Street, Suite 3500                  327 Franklin Street
San Francisco, CA                               Newton, MA
94104 877-276-5084                              02458 and
888-551-2252                                                             Via Electronic Mail
         steve@vondranlegal.com                 c/o Stephanie
                                                Avakian Wilmer
                                                Hale
                                                2100 Pennsylvania Avenue NW
                                                Washington DC 20037
                                                Phone: 202-663-6471
                                                stephanie.avakian@wilmerhale.com
                                                                                    Via Mail
                                                Defendant Zixiao Gary Wang
                                                304 Island Lane
                                                Egg Harbor Township, NJ 08234
                                                and
                                                                         Via Electronic Mail
                                                c/o Alex B. Miller
                                                Fried Frank
                                                One New York Plaza
                                                New York, New York 10004
                                                T: +1.212.859.8000
                                                ilan.graff@friedfrank.com;
                                                alex.miller@friedfrank.com
                                                                                    Via Mail
                                                Defendant Nishad Singh
                                                746 Jennifer Way
                                                Milpitas, CA 95035
                                                and




                                           -24-
Case MDL No. 3076 Document 33-2 Filed 03/08/23 Page 25 of 33




                                                            Via Electronic Mail
                                   c/o Andrew Goldstein
                                   Cooley LLP
                                   1299 Pennsylvania Avenue, NW
                                   Suite 700
                                   Washington, DC 20004-2400
                                   agoldstein@cooley.com
                                   +1 202 842 7800 phone

                                   Counsel for Defendant Armanino LLP:
                                                             Via Electronic Mail
                                   Ann Marie Mortimer
                                   Hunton Andrews Kurth
                                   LLP
                                   550 South Hope Street, Suite 2000
                                   Los Angeles, CA 90071
                                   213-532-2103
                                   amortimer@HuntonAK.com
                                                             Via Electronic Mail
                                   Kirk Austin Hornbeck
                                   Hunton Andrews Kurth LLP Los Angeles
                                   Office
                                   550 S. Hope Street, Suite 2000
                                   Los Angeles, CA 90071
                                   213-532-2000
                                   213-532-2020
                                   khornbeck@HuntonAK.com
                                                             Via Electronic Mail
                                   Thomas Richard Waskom
                                   Hunton Andrews Kurth
                                   LLP 951 East Byrd St.
                                   Richmond, VA 23219
                                   804-788-8403
                                   twaskom@HuntonAK.com

                                   Counsel for Defendant Prager Metis CPAs,
                                   LLC:
                                                          Via Electronic Mail
                                   Bruce Roger Braun
                                   Sidley Austin LLP
                                   One S. Dearborn
                                   Chicago, Il 60603
                                   312-853-7000
                                   312-853-7036
                                   bbraun@sidley.com




                            -25-
Case MDL No. 3076 Document 33-2 Filed 03/08/23 Page 26 of 33




                                   Counsel for Defendant Prager Metis CPAs,
                                   LLC:
                                                            Via Electronic Mail
                                   Bruce Roger Braun
                                   Sidley Austin LLP
                                   One S. Dearborn
                                   Chicago, Il 60603
                                   312-853-7000
                                   312-853-7036
                                   bbraun@sidley.com
                                                            Via Electronic Mail
                                   Joanna Rubin Travalini
                                   Sidley Austin LLP
                                   One South Dearborn Street
                                   Chicago, IL 60603
                                   312-853-2077
                                   jtravalini@sidley.com
                                                            Via Electronic Mail
                                   Sarah Alison Hemmendinger
                                   Sidley Austin LLP
                                   555 California Street, Suite 2000
                                   San Francisco, CA 94104
                                   415-772-7413
                                   415-772-7400
                                   shemmendinger@sidley.com
                                                            Via Electronic Mail
                                   Tommy Hoyt
                                   Sidley Austin LLP
                                   One S. Dearborn Street
                                   Chicago, IL 60603
                                   312-853-0914
                                   312-853-7036
                                   thoyt@sidley.com




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    Case MDL No. 3076 Document 33-2 Filed 03/08/23 Page 27 of 33




                 US District Court for the Northern District of California
                  Lam et al v. Bankman-Fried, Case No.: 3:22-CV-07336
Counsel for Plaintiff, Elliott Lam:                                         Via Electronic Mail
                               Via Electronic Mail Defendant Sam Bankman-Fried
William M. Audet                                   c/o Jeremy D. Mishkin
Audet & Partners, LLP                              Montgomery McCracken Walker & Rhoads
711 Van Ness Avenue. Suite 500                     LLP
San Francisco, CA 94102-3229                       1735 Market Street
415-568-2555                                       Philadelphia, PA 19103-7505
415-568-2556                                       Direct: 215-772-7246
waudet@audetlaw.com                                jmishkin@mmwr.com
                              Via Electronic Mail                          Via Electronic Mail
Kurt David Kessler                                 Defendant Caroline Ellison
Audet & Partners LLP                               c/o Stephanie Avakian
711 Van Ness Avenue                                2100 Pennsylvania Avenue NW
Suite 500                                          Washington DC 20037
San Francisco, CA 94102-3275                       Phone: 202-663-6471
415-568-2555                                       stephanie.avakian@wilmerhale.com
kkessler@audetlaw.com                                                      Via Electronic Mail
                              Via Electronic Mail Defendant Golden State Warriors, LLC
Laurence D. King                                   c/o Gibson, Dunn & Crutcher LLP
Kaplan Fox & Kilsheimer LLP                        Matthew S. Kahn
1999 Harrison Street, Suite 1560                   555 Mission Street
Oakland, CA 94612                                  San Francisco, CA 94105-0921
415-772-4700                                       Tel +1 415.393.8212
415-772-4707                                       Fax +1 415.374.8466
lking@kaplanfox.com                                MKahn@gibsondunn.com
                              Via Electronic Mail
Ling Yue Kuang
Audet & Partners, LLP
711 Van Ness Avenue, Suite 500
San Francisco, CA 94102
415-568-2555
415-568-2556
lkuang@audetlaw.com
                              Via Electronic Mail
Robert Lawrence Lieff
PO Drawer A
Rutherford, CA 94573
415-250-4800
rlieff@lieff.com




                                          -27-
     Case MDL No. 3076 Document 33-2 Filed 03/08/23 Page 28 of 33




Counsel for Plaintiffs, Julie Papadakis, Elliott
Jessup:
                            Via Electronic Mail
Laurence D. King
Kaplan Fox & Kilsheimer LLP
1999 Harrison Street, Suite 1560
Oakland, CA 94612
415-772-4700
415-772-4707
lking@kaplanfox.com

                         Via Electronic Mail
Todd M. Logan Edelson PC
150 California Street, 18th Floor
San Francisco, CA 94111
415-212-9300
415-373-9435
tlogan@edelson.com

Counsel for Plaintiff, Russell Hawkins:
                           Via Electronic Mail
Laurence D. King
Kaplan Fox & Kilsheimer LLP
1999 Harrison Street, Suite 1560
Oakland, CA 94612
415-772-4700
415-772-4707
lking@kaplanfox.com

Counsel for Plaintiff, Stephen T. Pierce:
                          Via Electronic Mail
Laurence D. King
Kaplan Fox & Kilsheimer LLP
1999 Harrison Street, Suite 1560
Oakland, CA 94612
415-772-4700
415-772-4707
lking@kaplanfox.com

                     Via Electronic Mail
Marshal Hoda
The Hoda Law Firm, PLLC
12333 Sowden Road, Suite B, PMB 51811
Houston, TX 77080
832-848-0036
marshal@thehodalawfirm.com




                                            -28-
    Case MDL No. 3076 Document 33-2 Filed 03/08/23 Page 29 of 33




                US District Court for the Southern District of California
              Gonzalez v. Silvergate Bank et al, Case No.: 3:22-CV-01981
Counsel for Plaintiffs
                          Via Electronic Mail
Adam E. Polk
Girard Sharp LLP
601 California Street, Suite 1400
San Francisco, CA 94108
415-981-4800
apolk@girardsharp.com

                          Via Electronic Mail
Daniel C. Girard
Girard Sharp LLP
601 California Street, Suite 1400
San Francisco, CA 94108
415-981-4800
415-981-4846
dgirard@girardsharp.com

                         Via Electronic Mail
Jason S Hartley Hartley LLP
101 West Broadway, Suite 820
San Diego, CA 92101
619-400-5822
619-400-5832
hartley@hartleyllp.com
                         Via Electronic Mail
Jason M. Lindner
Stueve Siegel Hanson LLP 550 West C
Street, Suite 610 San Diego, CA 92101
619-400-5822
619-400-5832
lindner@stuevesiegel.com
                         Via Electronic Mail
Makenna Cox
601 California Street, Suite 1400 San
Francisco, CA 94108
415-981-4800
mcox@girardsharp.com




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    Case MDL No. 3076 Document 33-2 Filed 03/08/23 Page 30 of 33




                US District Court for the Southern District of California
              Sepulveda Zuleta et al v. Silvergate Capital Corporation et al,
                                  Case No.: 3:22-CV-01901
Counsel for Plaintiffs
                           Via Electronic Mail
Caroline S. Emhardt
Fitzgerald Joseph LLP
2341 Jefferson Street, Suite 200
San Diego, CA 92110
619-215-1741
caroline@fitzgeraldjoseph.com
                           Via Electronic Mail
Jack Fitzgerald
Fitzgerald Joseph LLP
2341 Jefferson Street, Suite 200
San Diego, CA 92110
619-215-1741
619-331-2943
jack@fitzgeraldjoseph.com
                           Via Electronic Mail
James M. Davis, IV
Casey Gerry LLP
110 Laurel Street, San Diego, CA 92101
619-238-1811
619-544-9232
jdavis@cglaw.com (Inactive)
                           Via Electronic Mail
Melanie Rae Persinger
Fitzgerald Joseph LLP
2341 Jefferson Street, Suite 200
San Diego, CA 92110
619-215-1741
melanie@fitzgeraldjoseph.com
                           Via Electronic Mail
Paul K. Joseph
Fitzgerald Joseph LLP
2341 Jefferson Street, Suite 200
San Diego, CA 92110
619-215-1741
paul@pauljosephlaw.com




                                        -30-
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                           Via Electronic Mail
Thomas Joseph O'Reardon, II
Blood Hurst & O'Reardon, LLP
501 West Broadway, Suite 1490
San Diego, CA 92101
619-338-1100
619-338-1101
toreardon@bholaw.com
                           Via Electronic Mail
Timothy G. Blood
Blood Hurst & O'Reardon, LLP
501 West Broadway, Suite 1490
San Diego, CA 92101
619-338-1100
619-338-1101
tblood@bholaw.com
                           Via Electronic Mail
Trevor Matthew Flynn
Fitzgerald Joseph, LLP
2341 Jefferson Street, Suite 200
San Diego, CA 92110
619-215-1741
trevor@fitzgeraldjoseph.com




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                US District Court for the Southern District of California
             Husary et al v. Silvergate Bank et al, Case No.: 3:23-CV-00038
Counsel for Plaintiffs Andrawes Husary,
Francisco De Tomaso, Soham Bhatia,
Michael Hawwa:
                          Via Electronic Mail
Isabella Martinez
Reiser Law PC
1475 North Broadway, Suite 300
Walnut Creek, CA 94596
925-256-0400
isabella@reiserlaw.com
                          Via Electronic Mail
Jason S Hartley
Hartley LLP
101 West Broadway, Suite 820
San Diego, CA 92101
619-400-5822
619-400-5832
hartley@hartleyllp.com
                          Via Electronic Mail
Jason Kenneth Kellogg
Levine Kellogg Lehman Schneider &
Grossman
Miami Tower
100 SE 2nd Street, 36th Floor
Miami, FL 33131
305-403-8788
jk@lklsg.com
                          Via Electronic Mail
Jason M. Lindner
Stueve Siegel Hanson LLP
550 West C Street, Suite 610
San Diego, CA 92101
619-400-5822
619-400-5832
lindner@stuevesiegel.com(Inactive)
                          Via Electronic Mail
Marcelo Diaz-Cortes
Levine Kellogg Lehman Schneider &
Grossman LLP
Miami Tower
100 SE 2nd Street, 36th Floor
Miami, FL 33131
305-403-8788
md@lklsg.com



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        Case MDL No. 3076 Document 33-2 Filed 03/08/23 Page 33 of 33




                             Via Electronic Mail
   Matthew Whitacre Reiser
   Reiser Law PC
   1475 North Broadway, Suite 300
   Walnut Creek, CA 94596
   925-256-0400
   matthew@reiserlaw.com
                            Via Electronic Mail
   Michael J Reiser
   Law Office of Michael Reiser
   961 Ygnacio Valley Road
   Walnut Creek, CA 94596
   925-256-0400
   925-476-0304
   michael@reiserlaw.com

    Counsel for Plaintiffs Victoria J. Wilson
                               Via Electronic Mail
    Levine Kellogg Lehman Schneider Grossman
    Miami Tower
    100 SE 2nd Street, 36th Floor
    Miami, FL 33131
    305-403-8788
    305-403-8789
    vjw@lklsg.com


Dated: March 8, 2023                          Respectfully submitted,

                                                     By: /s/ Polly Towill
                                                             Polly Towill
                                                     SHEPPARD, MULLIN, RICHTER &
                                                     HAMPTON LLP
                                                     333 South Hope Street, 43rd Floor
                                                     Los Angeles, California 90071-1422
                                                     Telephone: (213) 620-1780
                                                     ptowill@sheppardmullin.com

                                                     Co-Counsel for Defendants,
                                                     Silvergate Capital Corporation, Silvergate
                                                     Bank, and Alan J. Lane




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